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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 CREIGHTON TAKATA, Individually and on               Case No.
 behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT FOR
        Plaintiff,                                   VIOLATION OF THE FEDERAL
                                                     SECURITIES LAWS
        v.
                                                     JURY TRIAL DEMANDED
 RIOT BLOCKCHAIN, INC. F/K/A, BIOPTIX,
 INC., JOHN O’ROURKE, and JEFFREY G.
 MCGONEGAL,

        Defendants.


       Plaintiff Creighton Takata (“Plaintiff”) individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and upon information and belief as to all other matters based on the

investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of Securities and Exchange Commission (“SEC”) filings by Riot Blockchain,

Inc. f/k/a Bioptix, Inc. (“Riot” or the “Company”), as well as media and analyst reports about the

Company. Plaintiff believes that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.




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                                   NATURE OF THE ACTION

         1.    This is a federal securities class action on behalf of a class consisting of all

persons and entities, other than Defendants and their affiliates, who purchased publicly traded

Riot securities from November 13, 2017 through February 15, 2018, both dates inclusive (“Class

Period”), seeking to recover compensable damages caused by Defendants’ violations of federal

securities laws and pursue remedies under the Securities Exchange Act of 1934 (the “Exchange

Act”).

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

         4.    Venue is proper in this judicial district pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the misleading statements entered into and

the subsequent damages took place within this district.

         5.    In connection with the acts, conduct and other wrongs alleged herein, Defendants

either directly or indirectly used the means and instrumentalities of interstate commerce,

including but not limited to the United States mails, interstate telephone communications, and

the facilities of the national securities exchange.




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                                             PARTIES

       6.       Plaintiff, as set forth in the accompanying PSLRA Certification, acquired Riot

securities at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.

       7.       Defendant Riot builds and supports various blockchain technologies. The

company invests primarily in Bitcoin and Ethereum blockchains. The Company is a Nevada

corporation with its principal executive offices supposedly located at 834-F South Perry Street,

Suite 443, Castle Rock, CO 80104. Riot securities trade on NASDAQ under the symbol “RIOT.”

       8.       Defendant John O’Rourke (“O’Rourke”) has been the Company’s Chief

Executive Officer (“CEO”) and Chairman of the Board since November 3, 2017.

       9.       Defendant Jeffrey G. McGonegal (“McGonegal”) has been the Company’s Chief

Financial Officer (“CFO”) since June 30, 2017.

       10.      Defendants O’Rourke and McGonegal are herein referred to as “Individual

Defendants.”

       11.      Collectively, Defendant Riot and Individual Defendants are herein referred to as

“Defendants.”

       12.      Each of the Individual Defendants:

                a.     directly participated in the management of the Company;

                b.     was directly involved in the day-to-day operations of the Company at the

                       highest levels;

                c.     was privy to confidential proprietary information concerning the Company

                       and its business and operations;




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              d.      was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;

              e.      was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

              f.      was aware of or recklessly disregarded the fact that the false and

                      misleading statements were being issued concerning the Company; and/or

              g.      approved or ratified these statements in violation of the federal securities

                      laws.

       13.    Riot is liable for the acts of the Individual Defendants and its employees under the

doctrine of respondeat superior and common law principles of agency as all of the wrongful acts

complained of herein were carried out within the scope of their employment with authorization.

       14.    The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to Riot under respondeat superior and agency principles.

                              SUBSTANTIVE ALLEGATIONS
                                            Background

       15.    On October 4, 2017, the Company announced it was changing its name from

Bioptix, Inc. (“Bioptix”) to Riot claiming this name change was in line with a shift in the

Company’s direction. As Bioptix the Company focused on animal healthcare and veterinary

products. As Riot, however, the Company was now going to focus on being a strategic investor

and operator in the blockchain ecosystem.

       16.    Blockchain protocols offer a secure way to store and relay information without

the need for middlemen. It uses a decentralized and encrypted ledger that offers a secure,

efficient, verifiable, and permanent way of storing records and other information. Blockchain


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protocols are the backbone of numerous digital cryptocurrencies including Bitcoin, Ethereum

and Litecoin.

                  Defendants’ False and Misleading Class Period Statements

        17.     On November 13, 2017, Riot filed its quarterly report on Form 10-Q for the

period ended September 30, 2017 (the “3Q17 10-Q”) with the SEC, which provided the

Company’s quarterly financial results and position. The 3Q17 10-Q was signed by Defendants

O’Rourke and McGonegal. The 3Q17 10-Q contained signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants O’Rourke and McGonegal attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting and the disclosure of all fraud.

        18.     The 3Q17 10-Q stated that the Company’s principle executive offices were

located at 202 6th Street, Suite 401, Castle Rock, CO 80104.

        19.     On December 27, 2017, the Company issued a press release entitled “Riot

Blockchain Announces Adjournment of Annual Meeting of Stockholders” which announced the

cancelation of the annual meeting of stockholders scheduled for the following day. The press

release stated in relevant part:

        Annual Meeting to Resume on Thursday, February 1, 2018
        CASTLE ROCK, Colo., Dec. 27, 2017 /PRNewswire/ -- Riot Blockchain, Inc.
        (Nasdaq: RIOT) (the “Company”) today announced that its 2017 Annual Meeting
        of Stockholders scheduled for December 28, 2017 (the “Annual Meeting”), was
        adjourned to achieve a quorum on the proposals to be approved.

        The Annual Meeting has been adjourned to 10:00 a.m. Eastern Standard Time on
        Thursday, February 1, 2018, at the Boca Raton Resort and Club, 501 East Camino
        Real, Boca Raton, FL 33422, to allow additional time for the Company’s
        stockholders to vote on proposals to approve the following:

        1. To elect as directors the nominees named in the proxy statement;
        2. To ratify the appointment of EisnerAmper LLP as our independent public
        accountant for the fiscal year ending December 31, 2017;



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       3. To advise us as to whether you approve the compensation of our named
       executive officers (Say-on-Pay); and
       4. To approve an amendment to the Company’s 2017 Equity Incentive Plan to
       increase the reservation of common stock for issuance thereunder to 1,645,000
       shares from 895,000 shares.

       During the period of the adjournment, the Company will continue to solicit
       proxies from its stockholders with respect to the proposals set forth in the proxy
       statement. Only stockholders of record on the record date of December 11, 2017,
       are entitled to and are being requested to vote. If a stockholder has previously
       submitted its proxy card and does not wish to change its vote, no further action is
       required by such stockholder.

       No changes have been made in the proposals to be voted on by stockholders at the
       Annual Meeting. The Company’s proxy statement and any other materials filed
       by the Company with the SEC remain unchanged and can be obtained free of
       charge at the SEC’s website at www.sec.gov.

       The Company encourages all stockholders that have not yet voted to vote their
       shares by 11:59 p.m. on Wednesday, January 31, 2018, Eastern Standard Time. If
       you have not voted, or have mislaid your proxy materials or are uncertain if you
       have voted all the shares you are entitled to vote please see “How You Can Vote”
       in the proxy materials. Every single vote counts.

       20.     On January 31, 2018, the Company issued another press release entitled “Riot

Blockchain Announces Adjournment of Annual Meeting of Stockholders” which again

announced the cancelation of the annual meeting of stockholders scheduled for the following

day. The press release stated in relevant part:

       CASTLE ROCK, Colo., Jan. 31, 2018 /PRNewswire/ -- Riot Blockchain, Inc.
       (Nasdaq: RIOT) (the “Company”) today announced that its 2017 Annual Meeting
       of Stockholders (the “Annual Meeting”) was adjourned for a second time to
       achieve a quorum on the proposals to be approved. Under Nevada law, a new
       record date is required to be set.

       The Company will file and mail a new proxy statement to its shareholders of
       record as soon as practical after its Board of Directors approves the new record
       date and schedules a new date and time for its Annual Meeting.

       21.     The statements referenced in ¶¶ 17-20 above were materially false and/or

misleading because they misinterpreted and failed to disclose the following adverse facts



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pertaining to the Company’s business and operations which were known to Defendants or

recklessly disregarded by them. Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (1) Riot’s principle executive offices were not in

Colorado, but rather in Florida in the same location as a large, influential shareholder, Barry C.

Honig who had a previous working relationship with Defendant O’Rouke; (2) Riot never

intended to hold its Annual General Meetings scheduled for December 28, 2017 and February 1,

2018; and (3) as a result, Defendants’ statements about Riot’s business, operations and prospects

were materially false and misleading and/or lacked a reasonable basis at all relevant times.

                                        The Truth Emerges

       22.     On February 16, 2017, CNBC published the article “CNBC investigates public

company that changed its name to Riot Blockchain and saw its shares rocket” regarding

questionable practices at Riot, stating in relevant part:

       As bitcoin hit record highs in late December, a hot new stock was making news
       on a daily basis. Riot Blockchain’s stock shot from $8 a share to more than $40,
       as investors wanted to cash in on the craze of all things crypto.

       But Riot had not been in the cryptobusiness for long. Until October, its name
       was Bioptix, and it was known for having a veterinary products patent and
       developing new ways to test for disease.

       That might sound somewhat like the type of newly minted blockchain company
       that has gained SEC attention.

       “Nobody should think it is OK to change your name to something that involves
       blockchain when you have no real underlying blockchain business plan and try
       to sell securities based on the hype around blockchain,” SEC Chairman Jay
       Clayton said, speaking in generalities in recent testimony to Congress. The SEC
       declined to comment to CNBC about Riot Blockchain.

       The company did make an investment in a cryptocurrency exchange in September
       and two months later did purchase a company that has cryptocurrency mining
       equipment, but paying more than $11 million for equipment worth only $2
       million, according to SEC filings.



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    That purchase and the company’s name change aren’t Riot’s only questionable
    moves.

    A number of red flags in the company’s SEC filings also might make investors
    leery: annual meetings that are postponed at the last minute, insider selling
    soon after the name change, dilutive issuances on favorable terms to large
    investors, SEC filings that are often Byzantine and, just this week, evidence that
    a major shareholder was getting out while everyone else was getting in.

                                      *       *      *

    Despite Riot Blockchain’s latest quarterly report showing a company in the red,
    its annual meeting was twice set to take place at the swanky Boca Raton Resort
    and Club in Florida. The resort is known as the “pink palace” and has luxury
    yachts lined up on its dock.

    But with less than one day’s notice, Riot twice “adjourned” its annual meeting,
    first scheduled for Dec. 28 and then for Feb. 1. It’s not clear the company ever
    planned to have the meeting. Numerous employees at the hotel told CNBC it
    had no reservations for either date under the name of Riot Blockchain or any
    affiliated entity.

    Riot’s filings reveal that Barry Honig may be the man behind the Riot Blockchain
    curtain.

    That would explain why a company formerly headquartered in Colorado might
    suddenly host its annual meeting in Boca Raton. That sunny location would
    certainly be convenient for Honig, once the company’s largest shareholder,
    whose office is a short drive from the hotel. He once owned more than 11
    percent of the outstanding common stock, according to SEC filings.

    “My history of investing’s pretty good. I invest in public companies,” Honig told
    CNBC by phone. “It was an investment where I had a return. And I sold some
    shares. There’s nothing wrong with doing that.”

    Honig became active in Riot in April 2016 when it was a veterinary testing
    company with a different name. He led an activist campaign to replace the board
    in September 2016 and won the fight in January 2017.

    After his victory, attorneys say, red flags began to appear.

    Until January, Honig had an extensive website filled with fawning descriptions of
    his investment acumen and what he does for companies when he gets involved.

    “Barry Honig’s investment portfolio includes a variety of exciting technology and
    biotech companies focused on innovation and progress,” barryhonig.com stated


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    before it was taken down.

    “Typically, Barry Honig invests his hard-earned money into a company, and he
    also provides strategic guidance to the company pertaining [sic] a variety of
    aspects, including who should lead the company (he helps put the right people in
    the right places in most of his investments), what goals and timelines that
    company should work towards, and a plan for the best way to achieve those
    goals,” the website said.

    A visit to the site now only reveals the text: “Under construction.”

    From the outside, Honig’s office is nondescript. There does not appear to be any
    evidence of his company’s existence on the building’s directory or on the door of
    his office.

    When CNBC crew members walked into the office, they didn’t find Honig, they
    found O’Rourke. That’s the same O’Rourke who made headlines when — less
    than three months after the company changed names and business plans — he
    sold about $869,000 worth of shares, according to an SEC filing. He told the crew
    he was there for a meeting with Honig and that we had just missed him.

    O’Rourke initially agreed to a formal interview with CNBC and emailed later to
    say the interview was “confirmed,” adding “I think you’ll be impressed.” Then,
    late the night before, he backed out via email and said he needed to go to the
    Midwest to close an acquisition.

    He agreed to answer questions via email instead. One of CNBC’s first questions
    was whether he worked in the same office as Honig, which could raise eyebrows.

    “I have my own office in a separate location,” O’Rourke said in an email sent by
    his lawyer, Nick Morgan, a partner with Paul Hastings. “I do have a good
    relationship with Mr. Honig and we speak often.”

    “John O’Rourke does not work out of my office,” Honig said. “John O’Rourke
    has his own office ... at one time John O’Rourke had space in my office ... we
    speak often.”

    Securities attorneys told CNBC that if a CEO were using the office of a major
    investor, it might raise concerns about the exchange of information.

    “You just can’t imagine that the CEO and the investor are going to have an
    appropriate wall between them where they’re not engaging in discussions or
    dialogue about what’s appropriate for the company on a day to day basis or in
    the future,” said Richard Birns, a corporate partner at Gibson, Dunn &
    Crutcher LLP.



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     Despite Honig’s website saying he gives advice on who should lead a company,
     Honig said he had nothing to do with O’Rourke becoming CEO.

     “The board and Michael Beeghley [the CEO before O’Rourke] are the ones that
     made the decision in regards to John O’Rourke becoming the CEO, okay? John
     O’Rourke doesn’t work for me, okay?” he said.

     Birns analyzed Riot Blockchain’s SEC filings for CNBC and found additional
     concerns.

     “I see a company that has had a change of control of the board. I see a
     company that has had a change in business. I see a company that has had
     several dilutive issuances immediately following the change of the board and
     change of the business. And I see a stock that has gone zoom,” he said. “And
     what I understand a significant amount of insider selling. So yes, these are red
     flags.”

     Jacob Zamansky, founder of Zamansky LLC, which specializes in securities
     fraud, also expressed caution.

     “With the absence of revenue on the company’s current financial statements, I
     would think investors need to be very cautious of a highly speculative stock with
     a lot of red flags,” he said.

     Since Honig’s board shake-up, the company has increased its common stock share
     count from 4.5 million to more than 11.6 million. On Oct. 2, 2017, two days
     before announcing the name change to Riot Blockchain, the board approved a
     dividend payout of more than $9.5 million, according to SEC filings.

     Investors who own more than 5 percent of a company’s outstanding common
     stock are required to file a form known as a 13D, which outlines their holdings.
     Subsequent changes in holdings require a “timely” filing of any changes.

     SEC records spanning 14 months show that Honig filed two 13Ds, including one
     in January 2017 that shows he owned 11.19 percent. After Riot’s name change
     sent the company’s shares soaring, Honig cashed out and filed the second 13D in
     February showing he owned less than 2 percent of outstanding common stock
     along with a small number of warrants. His purchase price ranged from $2.77 to
     $5.32 per share, according to the list of trades he provided to the SEC in 2017.
     Honig’s investment dropped below 5 percent, the threshold for SEC filing, on
     Nov. 28. At that point, the stock had already climbed above $20.

     Honig did not disclose his dramatically reduced position in the stock until this
     week.




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     But that may not be the true extent of Honig’s selling. Buried deep in the
     footnotes of Riot filings, it’s clear Honig also accumulated more than 700,000
     new warrants that he could convert to stock at $3.56 per share and more than
     700,000 promissory notes that he could convert to stock at $2.50 a share.

     What about those warrants and promissory notes? It’s not clear, as he never
     mentioned them in either 13D. But in another footnote from a recent Riot
     filing, there is no longer a mention of them.

     He declined to further clarify what happened to them.

     “It’s all disclosed in the public filings. And those are all the obligations I have,”
     he said. “I’m very comfortable with what I had to do and what I was obligated to
     do. ... I’m not going to talk about my personal trading history or my bank
     account.”

     Birns questioned how Honig made his filings. “It’s clear that Mr. Honig,
     through himself and through the entities that he controls, owns at least a
     significant amount of stock. Or has the potential to own significant amount of
     stock in excess of what is reported on the 13D,” he said.

     This is not the first time Honig has faced questions over his actions. In 2000, he
     was alleged to have committed stock manipulation. Honig was fined $25,000 and
     suspended for 10 days, according to the Financial Industry Regulatory Authority.
     In 2003, he let his broker’s license lapse.

     “The answer’s no,” Honig said when asked if he still manipulates stocks.

     SEC filings suggest that when Honig began his charge to take over the board, he
     was represented by lawyer Harvey Kesner of Sichenzia Ross Ference Kesner
     LLP. A few months later, Kesner’s law firm appears on Riot Blockchain’s SEC
     filings.

     Kesner’s company, Paradox Capital Partners LLC, owns Riot stock, according to
     SEC filings.

     When reached by phone, Kesner said he didn’t know anything about Riot
     Blockchain and Barry Honig and hung up.

     Honig said Kesner was Riot’s attorney, but “his law firm has represented me in
     other issues in the past.”

     Since its name change, Riot has been a very active company, issuing 23 press
     releases about acquisitions and new divisions.

     One of those acquisitions was Kairos Global Technology Inc., which had been


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     founded less than two weeks before the purchase. Kairos’ main asset was $2
     million of mining equipment. Riot purchased Kairos for $11.9 million worth of
     preferred convertible stock, according to SEC filings.

     O’Rourke told CNBC the company paid a premium for the equipment due to a
     shortage of mining equipment and difficulties getting it directly from the
     manufacturer.

     Kairos appears to have many links to Riot. The company was incorporated by Joe
     Laxague of Laxague Law Inc., the same lawyer who, SEC filings suggest,
     represented another major investor in Riot who has owned more than 7.49 percent
     of the company.

     Laxague told CNBC he could not comment when reached by phone and hung up.

     Kairos’ president was Michael Ho, Nevada records show, a poker player who
     played at a tournament with two other professional poker players, both of whom
     are on Riot’s advisory board, according to records reviewed by CNBC.

     O’Rourke said Riot is using the equipment to mine and that the company is
     currently mining in Norway and Canada. Despite the many press releases, there
     has been no formal mining announcement.

     “We have launched our own Bitcoin mining operation and it will be a focal point
     for Riot’s expansion plans moving forward,” is all Riot says on its webpage
     dedicated to mining. SEC filings are silent on mining activity.

     As for professional poker players advising Riot? O’Rourke told CNBC the
     players are investors in the cryptocurrency space with more than 50,000 social
     media followers. He called them “thought leaders.”

     Riot is not O’Rourke and Honig’s first cryptocurrency investment.

     In 2013, they were owners in BTX Trader, a cryptocurrency company, which was
     acquired by WPCS, a publicly traded company in which Honig had invested,
     according to court records.

     WPCS bought BTX on Dec. 17, 2013, just 13 days after it was incorporated in
     Delaware, according to SEC filings.

     At the time, WPCS was a communications, infrastructure and contracting
     company. The stock went up to $435.60 on a split-adjusted basis. It’s now trading
     around $2 after selling off BTX Trader in 2015, according to SEC filings.

     Just last month, the company changed its name to DropCar after a merger and is
     now a cloud-services-for-cars company.


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     O’Rourke, through his lawyer, told CNBC in an email that he made several
     investments with Honig as co-investor. “BTX Trader was one of our first
     investments together in the blockchain sector in 2013,” he said. “I have a good
     relationship with Mr. Honig, and he has been a supportive shareholder of Riot.”

     Honig acknowledges the investment.

     The questions continue for Riot Blockchain.

     On Tuesday, Riot filed to withdraw prior SEC filings.

     “It is not the result of any government inquiry,” O’Rourke said in an email. “It
     was just corporate clean up from our securities counsel.”

     As for the annual shareholders’ meeting, “We did not have a quorum of
     shareholders required for a vote,” O’Rourke said in the email from his lawyer.
     “We are also working on other corporate action items that would require
     shareholder approval and a shareholder meeting as well. We did not want to waste
     the time and expense of potentially having two shareholder meetings within a
     short period of time. Thus we adjourned the meetings, which is not an uncommon
     practice.”

     There is no new date for the shareholders’ meeting.

     “You see companies adjourn meetings in a context of a contested election and the
     like,” Birns said. “I just don’t think in this instance, there’s any reason to adjourn
     their annual meeting.”

     And as to O’Rourke selling stock in December?

     He told CNBC in the email: “I sold less than 10 percent of my overall position to
     assist with covering tax obligations as a result of so-called phantom income tax
     from the vesting of restricted stock awards. It is common for Executives to sell
     stock to cover such tax obligations. I could have sold more stock in that window
     but chose to sell just 30,383 shares.”

     O’Rourke welcomes increased regulation and transparency for the cryptocurrency
     industry. “Unfortunately, as with many new hot sectors, it [blockchain] has
     attracted some bad actors trying to capitalize on the hype,” he said. “Riot is all for
     increased transparency and properly imposed regulation.”

     Honig would not disclose how much he made on his investment in Riot, “I wasn’t
     fortunate enough to do as well as you might think and people might speculate. ... I
     don’t regret anything.” (Emphasis added).




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       23.    On this news, shares of Riot fell $5.74 per share or over 33.37% to close at $11.46

per share on February 16, 2018, damaging investors.

       24.    As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common shares, Plaintiff and other Class members

have suffered significant losses and damages.

                        ADDITIONAL SCIENTER ALLEGATIONS

       25.    As alleged herein, Defendants acted with scienter since they knew that the public

documents and statements issued or disseminated in the name of the Company were materially

false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Riot, his control over, and/or receipt

and/or modification of Riot’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Concordia, participated in the fraudulent scheme alleged herein.

       26.    On December 29, 2017, Defendant O’Rouke sold 30,383 shares of Riot stock for

proceeds of $869,256.35. O’Rouke wanted to sell his stock quietly and curiously timed his sales

on the Friday before a holiday weekend.

                     PLAINTIFF’S CLASS ACTION ALLEGATIONS

       27.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired the publicly traded securities of Riot during the Class Period (the “Class”);




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and were damaged upon the revelation of the alleged corrective disclosure. Excluded from the

Class are Defendants herein, the officers and directors of the Company, at all relevant times,

members of their immediate families and their legal representatives, heirs, successors or assigns

and any entity in which Defendants have or had a controlling interest.

       28.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, the Company’s securities were actively traded on

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by the Company or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       29.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       30.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       31.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       (a)     whether Defendants’ acts as alleged violated the federal securities laws;




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        (b)       whether Defendants’ statements to the investing public during the Class Period

                  misrepresented material facts about the financial condition, business, operations,

                  and management of the Company;

        (c)       whether Defendants’ statements to the investing public during the Class Period

                  omitted material facts necessary to make the statements made, in light of the

                  circumstances under which they were made, not misleading;

        (d)       whether the Individual Defendants caused the Company to issue false and

                  misleading SEC filings and public statements during the Class Period;

        (e)       whether Defendants acted knowingly or recklessly in issuing false and misleading

                  SEC filings and public statements during the Class Period;

        (f)       whether the prices of the Company’s securities during the Class Period were

                  artificially inflated because of the Defendants’ conduct complained of herein; and

        (g)       whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

        32.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        33.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:




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       (a)     Defendants made public misrepresentations or failed to disclose material facts

               during the Class Period;

       (b)     the omissions and misrepresentations were material;

       (c)     the Company’s securities are traded in efficient markets;

       (d)     the Company’s securities were liquid and traded with moderate to heavy volume

               during the Class Period;

       (e)     the Company traded on the NASDAQ, and was covered by multiple analysts;

       (f)     the misrepresentations and omissions alleged would tend to induce a reasonable

               investor to misjudge the value of the Company’s securities; Plaintiff and members

               of the Class purchased and/or sold the Company’s securities between the time the

               Defendants failed to disclose or misrepresented material facts and the time the

               true facts were disclosed, without knowledge of the omitted or misrepresented

               facts; and

       (g)     Unexpected material news about the Company was rapidly reflected in and

               incorporated into the Company’s stock price during the Class Period.

       34.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       35.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.




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                                           COUNT I

                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        36.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        37.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        38.      During the Class Period, the Company and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

        39.     The Company and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made untrue

statements of material facts or omitted to state material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading;

and/or engaged in acts, practices and a course of business that operated as a fraud or deceit upon

plaintiff and others similarly situated in connection with their purchases of the Company’s

securities during the Class Period.

        40.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company

were materially false and misleading; knew that such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially participated, or



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acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or modification of

the Company’s allegedly materially misleading statements, and/or their associations with the

Company which made them privy to confidential proprietary information concerning the

Company, participated in the fraudulent scheme alleged herein.

       41.      Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.

       42.     As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of the Company’s and the

Individual Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of the Company’s securities

during the Class Period in purchasing the Company’s securities at prices that were artificially

inflated as a result of the Company’s and the Individual Defendants’ false and misleading

statements.

       43.     Had Plaintiff and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by the Company’s and the

Individual Defendants’ misleading statements and by the material adverse information which the




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Company’s and the Individual Defendants did not disclose, they would not have purchased the

Company’s securities at the artificially inflated prices that they did, or at all.

        44.     As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

        45.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of the Company’s securities during the Class Period.

                                              COUNT II

                         Violation of Section 20(a) of The Exchange Act
                               Against The Individual Defendants

        46.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

        47.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

        48.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

        49.     Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace during the Class



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Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Company to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of the Company within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of the Company’s securities.

       50.        Each of the Individual Defendants, therefore, acted as a controlling person of the

Company. By reason of their senior management positions and/or being directors of the

Company, each of the Individual Defendants had the power to direct the actions of, and

exercised the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Company and possessed the power to control the specific activities which

comprise the primary violations about which Plaintiff and the other members of the Class

complain.

       51.        By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.         Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

       B.         Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;




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       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: February 17, 2018              Respectfully submitted,

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